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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JENNIFER HARRIS,                         )
                                         )
        Plaintiff,                       )
                                         )
vs.                                      )    Civil Action 4:21-cv-1651
                                         )
FEDEX CORPORATION,                       )
                                         )
        Defendant.                       )




 DEFENDANT FEDEX CORPORATE SERVICES, INC.’S MEMORANDUM OF LAW
 IN SUPPORT OF MOTION FOR RECONSIDERATION RE RULING ON SUMMARY
       JUDGMENT AND PLAINTIFF’S MOTION TO AMEND COMPLAINT
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

JENNIFER HARRIS,                                  )
                                                  )
        Plaintiff,                                )
                                                  )
vs.                                               )     Civil Action 4:21-cv-1651
                                                  )
FEDEX CORPORATION,                                )
                                                  )
        Defendant.                                )



        Defendant FedEx Corporate Services, Inc. (hereinafter, “Defendant” or “FedEx”) hereby

moves for reconsideration of the Court’s order (ECF No. 056 – or the “MSJ Order”) denying

FedEx’s motion for summary judgment (ECF Nos. 027-029) (the “MSJ”) and granting Plaintiff’s

motion to amend her complaint (ECF No. 057). FedEx makes this motion pursuant to Rule 60 of

the Federal Rules of Civil Procedure.

        I.      INTRODUCTION

        FedEx respectfully requests that the Court correct errors in its MSJ Order, and that it

reverse the order, grant summary judgment in FedEx’s favor, and deny Plaintiff’s motion to

amend. The Court erred by:

        (1) Incorrectly stating that Plaintiff’s termination was based solely on sales

             performance/revenue goal attainment, when there were additional issues with

             Plaintiff’s performance unrelated to those numbers;

        (2) Incorrectly analyzing Plaintiff’s revenue attainment numbers, in seeking to compare

             Plaintiff to her White peers;




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       (3) Failing to follow, or even discuss, the Fifth Circuit’s decision in Owens, cited by

              FedEx. Owens is closely analogous to the instant case and effectively disposes of

              Plaintiff’s pretext arguments.

       (4) Referencing direct (as opposed to indirect/circumstantial) evidence of discrimination

              when none is present or even argued by Plaintiff;

       (5) Allowing Plaintiff to amend her complaint to add a Title VII claim, when it should fail

              on the merits for the same reasons that her Section 1981 claim fails (including failure

              to show that FedEx’s reasons for its employment actions were pretext);

       (6) Denying summary judgment as to FedEx’s contractual limitation period argument,

              based on the notion that the contract runs afoul of a federal administrative process that

              only applies to Title VII claims, and not to Section 1981 claims (thus exposing FedEx

              to additional compensatory and punitive damages available in a 1981 proceeding); and

       (7) Allowing Plaintiff to amend her complaint in opposition to summary judgment, despite

              contrary Fifth Circuit authority.

       II.       NATURE AND STAGE OF THE PROCEEDING

       Plaintiff is a former sales manager for FedEx who FedEx claims it terminated for

performance. Plaintiff claims she was discriminated against on the basis of her race, in violation

of Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981. A docket call re trial setting is

scheduled for September 12, 2022 at 11:30 a.m. and a Telephone Conference regarding the docket

call is set for September 8, 2022 at 9:30 a.m.

       III.      ISSUES AND STANDARD OF REVIEW

       The issues are (1) whether the Court should reconsider and reverse its ruling on FedEx’s

MSJ, and grant summary judgment in FedEx’s favor, and (2) whether the Court should reconsider



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and reverse its ruling on Plaintiff’s motion to amend her complaint. A ruling on a motion for

reconsideration is generally reviewed for abuse of discretion. However, when reconsideration is

based on a question of law, a de novo standard applies. Buehler v. Dear, 27 F.4th 969, 980 & n.13

(5th Cir. 2022).

       IV.     LEGAL STANDARD FOR RECONSIDERATION

       A court may reconsider and amend a prior order, upon motion by a party, under either Rule

59(e) (“a motion to alter or amend a judgment. . .”) or 60(b) (“the court may relieve a party or its

legal representative from a final judgment, order, or proceeding …”) of the Federal Rules of Civil

Procedure. Among the potential reasons for reconsideration of a prior order is clear error in the

decision. Amer. Civ. Lib. Un. of Ky.v. McCreary Cty., 607 F.3d 439, 450 (6th Cir. 2010).

       This motion contends, respectfully, that the Court’s MSJ Order is clear error. Additionally,

if the Court reverses its order and grants summary judgment in FedEx’s favor, it should also

reverse its ruling on Plaintiff’s motion to amend her Complaint, because such an amendment would

be futile if her discrimination/retaliation-based claims are determined to have no merit.

       V.      THE MSJ ORDER CONTAINS FACTUAL ERRORS AS TO FEDEX’S
               MOTION FOR SUMMARY JUDGMENT

       The core of the Court’s analysis, which led the Court to draw potential inferences of

discrimination in Plaintiff’s favor, relies upon an erroneous interpretation of facts set forth in

FedEx’s paper. Such errors are straightforwardly evident from the ruling and from the papers

themselves, as follows.

       The order states, in pertinent part:

               During Lamb’s counseling and/or meetings with the plaintiff, it
               became clear that the plaintiff’s 91.6% revenue performance was
               greater than at least one of her white peers. The average of 85.1%
               and 98.42% equals 94.8%. According to the defendant, Lamb
               averaged the scores of two District Sales Managers to reach the

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               94.8% average. A calculation that averages the scores should be
               based on the low of 85.01% and the high of 98.42%. It is noted that
               the average between the low and the high is 91.715%. By the
               averaging method, the plaintiff revenue performance was 0.11%
               below the average. This calculation also establishes that at least one
               white District Sales Manager’s score was 9.79% below the average
               (91.715) or 14.99% below his/her expected goal.

               The letter of termination states that the plaintiff’s termination was
               based solely on her lack of performance. In fact, the defendant
               admits that job performance is measured “in part” by whether a
               District Sales Manager meets the defendant’s revenue goal. Because
               the plaintiff’s termination was based solely on her failure to meet
               the defendant’s revenue goal, when others not of her race but in
               similar positions were not terminated when they did not meet their
               revenue goals, raises the inference that race could have been factor
               in the plaintiff’s termination. Thereafter, the defendant’s motion for
               summary judgment is Denied.

ECF 056 at 5-6 (emphasis added).

       A. Plaintiff Was Not Terminated Solely For Failure to Meet Revenue Attainment
          Goals

               i.      Plaintiff’s Job Duties Include More than Just Revenue Attainment

       The first, and most fundamental, incorrect factual premise in the above paragraphs is the

notion that “plaintiff’s termination was based solely on her failure to meet the defendant’s revenue

goal.” Id. As the foregoing passage itself acknowledges, Plaintiff was terminated for lack of

performance, and her performance was only measured “in part” by attaining her revenue goals.

Id. As is set forth in Plaintiff’s job description, her job requirements include “effective

management of an account executive team,” and “day to day supervision of activities including

training, manpower planning, motivation and performance evaluation of Sales Representatives and

support personnel.” MSJ, at 7-8 (Summary of Material Facts, ¶ 4), citing to Harris Dep. 116:18-




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117:9 (Apx 235-236); Ex. 3 (Apx 125) 1. These are in addition to “ennsur[ing] sales objectives are

met.” Id.

                 ii.    Plaintiff Received a Letter of Counselling for Failing to Meet Job Duties,
                        Including, but Not Limited Due, Revenue Attainment.

       Plaintiff’s failure to adequately perform such additional job duties is clearly set forth in the

documentation of the performance management process that culminated in Plaintiff’s termination.

For example, the June 2019 Letter of Counseling issued to Plaintiff does highlight failures in

revenue goal attainment. MSJ, at 9-10 (Summary of Material Facts, ¶ 11), citing to Harris Dep.

Ex. 31 (Apx 158). However, it also highlights failures in her job duty of “training, manpower

planning, motivation and performance evaluation” (from job description, cited supra) of

subordinates. Namely, it states “[d]espite these deficiencies, and our multiple conversations on the

subject, you have no performance plans in place for any members of your team. It is your

responsibility as a leader to address on-going performance deficiencies on your team.” MSJ, at 9-

10 (Summary of Material Facts, ¶ 11), citing to Harris Dep. Ex. 31 (Apx 158). Accordingly, the

June 2019 Letter of Counseling outlines not only failures in revenue attainment, but also failures

in leadership.

                 iii.   Plaintiff’s First Performance Improvement Plan Included Multiple
                        Elements Beyond Just Revenue Attainment.

       In response to the June 2019 Letter of Counseling, Plaintiff and her supervisor, Ms. Lamb,

agreed upon a Performance Improvement Plan, with seven elements that Plaintiff was required to

work on. MSJ, at 10 (Summary of Material Facts, ¶ 12), Harris Dep. 202:14-203:18 (Apx 254-

255); Exs. 32 (Apx 159); 33 (Apx 162). Those seven elements were:




1
 Unless otherwise noted, all factual citations refer to FedEx’s appendix of evidence (“Apx.”) in
support of the MSJ, ECF No. 029.
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               (1) Use CoachForward and Coach2 Grow 2.0 to improve district
               performance and hold employees accountable using the scorecard (weekly),
               ROA (bi-weekly) and GAP to goal (bi-weekly) to measure these results. In
               these reports it will include their pricing activity, opportunities, calls on
               opportunities, closes and efforts to close gaps by service.

               (2) Use reports to evaluate and hold team accountable to call management,
               account management, pipeline management, and territory management.
               MD’s effectiveness will be measure based on the tracking of $250 of closed
               business tracked. SD’s effectiveness will be measured based on the tracking
               of $1000 of closed business tracked. They all will be monitored and
               evaluated for pricing, calls/prospecting and opportunities. This Information
               will be evaluated weekly on a team scorecard.

               (3) Collaborate to Close: Each MD AE will have 1 target account they will
               work per month to collaborate with their BSI AE to close.

               (4) Goal is have 50% for the team over 100% in International in Q1 and
               continue the consistency and grow that number for FY20.

               (5) Target Accounts: The success of the target accounts will be measured
               by calls on the target account opportunities, demonstration on the strategy,
               joint call engagement, pricing, solutions utilized, and activation rate once
               closed.

               (6) Pricing: MD’s pricing expectation is to average 1 pricing per week.
               SD’s pricing expectation is to price as needed based on opportunities,
               earned discount growth, surcharge extensions, protecting business all pay
               huge part in their pricing activity.

               (7) Attainment: Your goal was to finish Q1 at 100%.

MSJ, at 10- (Summary of Material Facts, ¶ 12013), Harris Dep. 202:14-203:18; 204:21-205:11;

206:1-5 (Apx 254-258); Exs. 32 (Apx 159); 33 (Apx 162); Ex. 34 (Apx. 164). Plaintiff was to

complete this PIP over the first quarter of fiscal year 2020 (June 2019-August 2019). Plaintiff

does not dispute that these were the terms of the First PIP. MSJ, at 10 (Summary of Material Facts,

¶ 12), Harris Dep. 202:14-203:18 (Apx 254-255); Exs. 32 (Apx 159); 33 (Apx 162).




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                iv.     Plaintiff Failed to Meet the Terms of Her First PIP, and Received a Letter
                        of Warning, Again for Issues in Addition to Revenue Attainment

        Plaintiff failed to meet the terms of the First PIP within the prescribed time frame, and

accordingly, on September 13, 2019, Ms. Lamb issued a Letter of Warning to Plaintiff. MSJ, at

10-11 (Summary of Material Facts, ¶¶ 13-14), Harris Dep. 204:21-205:11; 206:1-5; 221:1-4 (Apx

256-259); Exs. 34 (Apx 164); 37 (Apx 165). As is noted in the September meeting preceding the

September 13th Warning Letter, Plaintiff met just one goal (to have 50% of the team over 100% in

International in first quarter) of the seven (7) goals of the First PIP, as follows:

                        (1) Use CoachForward and Coach2 Grow 2.0 to improve district
                        performance and hold employees accountable using the scorecard
                        (weekly), ROA (bi-weekly) and GAP to goal (bi-weekly) to measure
                        these results. In these reports it will include their pricing activity,
                        opportunities, calls on opportunities, closes and efforts to close gaps
                        by service.
                        Coaching approach and tools referenced in this objective did not
                        result in closing gaps in performance. Revenue gaps in District
                        increased from $1,190,000 to $1,360,000.

                        (2) Use reports to evaluate and hold team accountable to call
                        management, account management, pipeline management, and
                        territory management. MD’s effectiveness will be measure based
                        on the tracking of $250 of closed business tracked. SD’s
                        effectiveness will be measured based on the tracking of $1000 of
                        closed business tracked. They all will be monitored and evaluated
                        for pricing, calls/prospecting and opportunities. This Information
                        will be evaluated weekly on a team scorecard.
                        Jennifer did not meet this objective as only 3 out of 8 AE’s in
                        her district met this CBT expectation.

                        (3) Collaborate to Close: Each MD AE will have 1 target account
                        they will work per month to collaborate with their BSI AE to close.
                        Jennifer did not meet this objective. 3 out of 6 MD’s have a
                        Collaborate 2 Close Opportunity identified in iSell.

                        (4) Goal is have 50% for the team over 100% in International in Q1
                        and continue the consistency and grow that number for FY20.
                        Jennifer did meet this objective. 6 out of 8 AE’s on her team hit
                        international plan in Q1 (unadjusted.)



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                       (5) Target Accounts: The success of the target accounts will be
                       measured by calls on the target account opportunities,
                       demonstration on the strategy, joint call engagement, pricing,
                       solutions utilized, and activation rate once closed.
                       Jennifer’s target account, Global Healing, did not close in Q1.

                       (6) Pricing: MD’s pricing expectation is to average 1 pricing per
                       week. SD’s pricing expectation is to price as needed based on
                       opportunities, earned discount growth, surcharge extensions,
                       protecting business all pay huge part in their pricing activity.
                       Jennifer did not meet this objective. 0 out of 6 MD’s submitting
                       pricing request per week.

                       (7) Attainment: Your goal was to finish Q1 at 100%.
                       Jennifer did not meet this objective. She finished Q1 at 91.6%
                       (unadjusted).

MSJ, at 10 (Summary of Material Facts, ¶ 13), Harris Dep. 204:21-205:11; 206:1-5 (Apx 256-

258); Exs. 34 (Apx 164). In the Letter of Warning, Plaintiff was informed that her district failed

to meet plan in FY20 Q1, had the lowest pricing activity in the Region, and she did not meet the

PIP objectives “which [Plaintiff] created to improve performance.” MSJ, at 10-11 (Summary of

Material Facts, ¶ 14), Harris Dep. 221:1-4 (Apx 259); Exs. 37 (Apx 165). The Warning Letter also

states in conclusion that “Recurring patterns of this performance will not be tolerated. A repeat of

this or any other performance or behavior issue may result in more severe corrective action up to

and including termination.” Id. Plaintiff does not dispute that she failed to meet the terms of the

First PIP as described in the Letter of Warning. Rather, Plaintiff’s purported disputes focus on the

data that underlies the First PIP, e.g. revenue numbers related to customer BJ Services, and other

matters. See e.g. Pltf’s Brief, ECF 039 at 27-28. As FedEx explained in its reply, these arguments

have no merit, but in any event, they are irrelevant to the instant motion, because the Court’s

reasoning in its Order did not rely on Plaintiff’s purported disputes, but instead relied on its own

interpretation of FedEx’s data, not advanced by either party. See ECF 056 at 5.




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       In conjunction with the Letter of Warning, Ms. Lamb placed Plaintiff on a Second

Performance Improvement Plan (“Second PIP”). MSJ, at 11 (Summary of Material Facts, ¶ 15),

Harris Dep. 221:22-24; 223:7-12 (Apx 259-260); Ex. 39 (Apx. 167). Ms. Lamb wrote the terms

of this Second PIP, and, in an effort to make the goals more feasible for Plaintiff, Ms. Lamb

actually reduced the revenue attainment component of the Second PIP. To wit, the Second PIP

provided that Plaintiff must during the second quarter of Fiscal Year 2020:

               (1) Closed Business tracking: 100% of MD’s need to track $250 adnr CBT
               in order to close territory gaps in Q2. 100% of SD’s need to track $1000
               adnr CBT in order to close territory gaps in Q2.

               (2) International: Evidence of success in the area will be measured by
               improved International attainment across all AE’s as measured by the time
               the period of this Action Plan begins and the end of Q2. Current attainment
               = 86.1% with 6 out of 8 AE’s missing international plan.

               (3) Pricing: Success will be measured based on MD pricing submissions
               averaging out of 1 per week in Q2.

               (4) Collaborate to Close: Each MD on team needs to be working at least 1
               Collaborate to Close opportunity in Q2.

               (5) Performance: Goal is to meet/exceed avg attainment in LHR (currently
               94.8%) in Q2. Goal is to meet/exceed avg attainment for each service based
               on LHR overall performance in Q2.
                       FXF (Currently 85.01%)
                       International (Currently 92.05%)
                       Express (Currently 97.87%)
                       Ground + SP (Currently 98.42%)

MSJ, at 11 (Summary of Material Facts, ¶ 15), Harris Dep. 91:2-5; 224:20-225:5; 229:24-230:3

(Apx 229; 261-262; 264-265); Ex. 38 (Apx 167). Plaintiff does not dispute that these were the

terms of the Second PIP. It should be noted that, with respect to revenue attainment specifically,

as is further discussed below, item 5 in the Second PIP (revenue attainment goal of meeting or

exceeding the average attainment in the Region (at 94.8% at start of Second PIP)) is a lower

standard than the corresponding goal in the First PIP (item 7 - revenue attainment goal of 100%).

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The result of this reduction, which was intentional, was to make it more feasible for Plaintiff to

meet this specific category of the Second PIP. MSJ, at 11 (Summary of Material Facts, ¶ 16),

Burchett Dep. 27:1-11; 28:23-29:11 (Apx 316-317); Harris Dep. Ex. 38 (Apx 167). Plaintiff cannot

dispute that this reduced number made her revenue attainment easier to achieve than during her

first PIP.

               v.     Plaintiff Failed to Meet the Terms of the Second PIP, Including Items Not
                      Related to Revenue Attainment, and Plaintiff Was Terminated.

        As of December 6, 2019, Plaintiff had met only one (1) out of five (5) requirements set

forth in her Second PIP, namely:

               (1) Closed Business tracking: 100% of MD’s need to track $250 adnr CBT
               in order to close territory gaps in Q2. Requirement not met. 12/5/2019 –
               1 MD failed to meet this requirement. 100% of SD’s need to track $1000
               adnr CBT in order to close territory gaps in Q2. Requirement not met.
               12/5/2019 – 2 SD’s failed to meet this requirement.

               (2) International: Evidence of success in the area will be measured by
               improved International attainment across all AE’s as measured by the time
               the period of this Action Plan begins and the end of Q2. Current attainment
               = 86.1% with 6 out of 8 AE’s missing international plan. Requirement has
               been met.

               (3) Pricing: Success will be measured based on MD pricing submissions
               averaging out of 1 per week in Q2. Requirement not met. 4 out of 6 MD’s
               did not meet this requirement.

               (4) Collaborate to Close: Each MD on team needs to be working at least 1
               Collaborate to Close opportunity in Q2. Requirement has been met.

               (5) Performance: Goal is to meet/exceed avg attainment in LHR (currently
               94.8%) in Q2. Goal is to meet/exceed avg attainment for each service based
               on LHR overall performance in Q2.
                       FXF (Currently 85.01%)
                       International (Currently 92.05%)
                       Express (Currently 97.87%)
                       Ground + SP (Currently 98.42%)
                       Requirement not met. Revenue goal was 92.1%




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MSJ, at 12 (Summary of Material Facts, ¶ 18), Ex. I (OneNote summary of 12/619 meeting (Apx

40). While Ms. Harris does not dispute that she participated in a meeting about her Second PIP,

she does not remember the specifics of the meeting. Id. Harris Dep. 231:20-235:11 (Apx. 266-

270). Plaintiff’s failure to meet the terms of the Second PIP formed the basis of the Request for

Termination that Ms. Lamb submitted to FedEx Human Resources, which led to Plaintiff’s

termination. MSJ, at 12 (Summary of Material Facts, ¶ 19), Lamb Dep. 71:22-72:20 (Apx 303-

304; Ex. G (Harris Request for Termination) (Apx 34). As detailed in both the First PIP and

Second PIP, Plaintiff was being measured on more than just her revenue number.

              vi.     The Court’s Analysis of Plaintiff’s Revenue Attainment Numbers is
                      Manifestly Incorrect

       In analyzing Plaintiff’s revenue attainment numbers, the Court attempted to compare

Plaintiff’s performance numbers to her White peers, both individually and in terms of averages.

ECF 056 at 5. The Court’s analysis does not cite to specific documents, but FedEx has undertaken

to determine what documents the Court is referring to.

       The Court starts by noting that:

       The statistics relied upon by the defendant to establish the plaintiff’s failing are
       direct evidence of disparity in treatment. During Lamb’s counseling and/or
       meetings with the plaintiff, it became clear that the plaintiff’s 91.6% revenue
       performance was greater than at least one of her white peers. The average of 85.1%
       and 98.42% equals 94.8%.

ECF 056 at 5. It appears the Court may be getting Plaintiff’s revenue attainment percentage not

from either the First PIP or the Second PIP, but rather is taking Plaintiff’s FY19 Revenue

Attainment number (91.6%), which was highlighted in Plaintiff’s June 26, 2019 Letter of

Counseling. MSJ, at 9-10 (Summary of Material Facts, ¶ 11), Harris Dep. Ex. 31 (Apx 158) (“At

91.6% (unadjusted) YTD attainment in FY19, your district had the lowest YTD goal attainment in

[Ms. Lamb’s Region.]”). Further, it appears the Court is averaging not total manager revenue

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attainment, but two of the indicated FedEx service offerings/segments (i.e., Express shipments,

International shipments, FedEx Ground and SmartPost shipments, FXF/Freight shipments)

revenue attainment percentages. See Second PIP (Apx 167). As highlighted in FedEx’s Statement

of Fact 16, which is based on the language of the Second PIP, Plaintiff was expected to

meet/exceed the average attainment of Lamb’s Region (not just the average of the highest and

lowest manager’s revenue performance) AND to meet/exceed the average attainment of the four

service offerings that FedEx was tracking. MSJ, at 11 (Summary of Material Facts, ¶ 16), Burchett

Dep. 27:1-11; 28:23-29:11 (Apx 316-317) Harris Dep. Ex. 38 (Apx. 167).

       Again, Lamb averaged all of her managers’ revenue attainment numbers (not just the

highest and lowest) to get an average of 94.8% at the start of Plaintiff’s Second PIP. Id. Plaintiff’s

peer managers were performing at an average of 94.8% of their respective revenue attainment

goals, which is why Lamb used that number in the Second PIP. Id. This means that in addition to

meeting the other four goals outlined in the Second PIP, Plaintiff was required to achieve revenue

attainment equal to or greater than the then-current average of Plaintiff’s peers both in total and in

the four identified FedEx service offerings. Id.

       Of course, it should be noted that the use of this metric, which is based on the average of

all of Lamb’s managers, specifically contemplates that Plaintiff might have better performance

than one or two of her peers at the conclusion of the time period for the Second PIP, but still fail

to meet the Performance objective goal of her Second PIP, because the intent was to measure her

performance against an average, not against the worst performer. Id. This is not indicative of

discrimination. Rather, it is simply one among many objective criteria of Plaintiff’s PIPs that she

failed to meet.




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       In any event, the analysis that the Court conducted to arrive at the conclusion that Plaintiff’s

performance was below average, is also factually incorrect in and of itself. To wit, the Court states:

               A calculation that averages the scores should be based on the low of
               85.01% and the high of 98.42%. It is noted that the average between
               the low and the high is 91.715%. By the averaging method, the
               plaintiff revenue performance was 0.11% below the average. This
               calculation also establishes that at least one white District Sales
               Manager’s score was 9.79% below the average (91.715) or 14.99%
               below his/her expected goal.

ECF 056 at 5. The Court’s use of the 91.715% average figure (derived from a range of average

revenue attainment by Ms. Lamb’s reports across a range of four types of FedEx service offerings,

e.g. Ground, Freight, etc.) is incorrect based on the terms of the Second PIP. MSJ, at 11 (Summary

of Material Facts, ¶ 16), Burchett Dep. 27:1-11; 28:23-29:11 (Apx 316-317) Harris Dep. Ex. 38

(Apx. 167). The requirement of the Second PIP was that Plaintiff must both (1) achieve at least

average performance (compared to her peers) in overall (“primary”) revenue attainment, and (2)

in revenue attainment with respect to revenue received from four separate types of FedEx services

(Express shipments, International shipments, Ground and SmartPost shipments, Freight

shipments). While Plaintiff failed to meet or exceed the average revenue attainment when she was

at 92.1% (Region average at end of Second PIP was 93.7%) and she failed to meet or exceed the

Region average for all four types of FedEx services. MSJ, at 12 (Summary of Material Facts, ¶

18), Harris Dep. 231:20-235:11 (Apx 266-270); Ex. I (Apx 40). And, the fact that one of Plaintiff’s

White peers may have had worse performance than her in one of the fiscal quarters in the relevant

time period was of no moment. Plaintiff’s requirement was to fulfill the terms of her PIPs (the first

of which were terms that she drafted), which she failed to do. MSJ, at 10 (Summary of Material

Facts, ¶ 13-14 (First PIP)), Harris Dep. 204:21-205:11; 206:1-5 (Apx. 256-258); Ex. 34 (Apx 165);




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MSJ, at 12 (Summary of Material Facts, ¶ 18 (Second PIP), Harris Dep. 231:20-235:11 (Apx 266-

270); Ex. I (Apx 40).

       VI.     THE MSJ ORDER CONTAINS LEGAL ERRORS AS TO FEDEX’S
               MOTION FOR SUMMARY JUDGMENT

       A. The Court Failed to Follow, or even Discuss, the Owens Case.

       In its brief in support of the MSJ, and in its reply, FedEx cited and discussed the case of

Owens v. Circassia Pharms, Inc., 33 F.4th 814 (5th Cir. 2022). ECF 028 at 18-19, ECF 043 at 11-

13. As FedEx pointed out in its briefing, Owens is analogous to the case at bar in that it involved

alleged race discrimination by a former sales manager (for a pharmaceutical company). Owens, 33

F.4th at 820. The plaintiff in Owens, like the Plaintiff here, was criticized for inadequate leadership

and management of subordinates Id. at 820-821. She was placed on a performance improvement

plan, but failed to improve, and was terminated. Id at 822-823. The plaintiff sought to introduce

evidence of pretext to defeat summary judgment, including evidence that one of her peers had a

worse performance rating than her in at least one category. Id at 828. Additionally, the Owens

Court noted that

               Several declarations attest to specific facts which, if credited by a
               factfinder, could lead to a reasonable rejection of Circassia's
               proffered reason for firing Owens. Further, Owens presents
               objective evidence that Circassia acted in a way that does not
               logically comport with its assessment of her performance. Three of
               the underlying reasons for placing Owens on a PIP and eventually
               terminating her were that she was failing to develop her team, she
               was doing the work of her team and acting as a “super rep” rather
               than a manager, and she was not conducting proper field visits.
               Owens presents substantial evidence to contest each.

Id at 831. The Owens plaintiff’s evidence included (1) declarations from her subordinates that she

in fact was managing them in a manner that should have been deemed adequate, (2) more than one

of her subordinates was promoted, and (3) the plaintiff’s “region consistently ranked among the



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best in the company in overall sales revenue.” Id at 832. The Fifth Circuit ultimately concluded

that the plaintiff had “presented evidence that directly and specifically contradicts several factual

bases for her placement on the PIP and her eventual termination.” Id at 833.

       Nevertheless, despite all of that contrary evidence presented by the Owens plaintiff, the

Fifth Circuit held that the defendant was entitled to summary judgment. The reason: Plaintiff

failed to present evidence from which a factfinder could infer discrimination on the basis of race,

rather than just errors in judgment in handling a personnel matter. In the Court’s words,

               Thus, although Owens likely presents enough evidence of illogic to
               permit a rational factfinder to think Circassia's proffered reason
               might be false, Owens does not present the type of evidence
               necessary to permit an inference of discrimination. Instead, this is a
               case where, although the plaintiff has established a prima facie case
               and set forth sufficient evidence to reject the defendant's
               explanation, no rational factfinder could conclude that the action
               was discriminatory. [] In other words, a juror could reasonably
               conclude that Circassia wanted Owens gone for some reason other
               than her performance, but an inference of discrimination [would] be
               weak or nonexistent. []

Owens, 33 F.4th at 833 (internal quotations and citations omitted). Accordingly, in the case at bar,

the fact that one or two of Plaintiff’s peers may have performed better in a particular revenue

metric is irrelevant. Even if that analysis were correct, it still does no more than challenge one

among several of the items in Plaintiff’s PIPs. As in Owens, there is no evidence in this case from

which an actual inference of discrimination can be drawn. The Court’s MSJ Order is error under

Owens, and should be reconsidered.

       B. The Court’s Analysis Appears to Confuse Direct and Indirect Evidence

       Additionally, FedEx notes that the Court’s ruling refers to the statistics relied upon by

Plaintiff as being “direct” evidence of disparate treatment (ECF 056 at 5), however it goes on to

analyze Plaintiff’s evidence under the rubric of pretext/inference of discrimination. Id. FedEx



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presumes that the Court is aware of the difference between direct evidence of discrimination (for

example overt evidence of racial bias such as a racist comment, etc.) and indirect evidence

employed to deem an employer’s proffered reasons for a termination as being pretext, based on

the burden-shifting framework established by the U.S. Supreme Court in the McDonnell Douglass

case. See Owens, 33 F.4th at 825-827; West v. Nabors Drilling USA, Inc., 330 F.3d 379, 384 n.3

(5th Cir.2003) (“Direct evidence is evidence that, if believed, proves the fact of discriminatory

animus without inference or presumption.”). Plaintiff’s opposition presents no direct evidence of

discrimination, focusing instead on indirect evidence and pretext (ECF 039 at 18-23). Likewise,

the Court’s analysis seems to indicate that, as in Owens, the “crux” of the analysis was pretext.

However, if the Court’s reference to “direct” evidence was intentional, this would be clear error

as well.

       VII.    THE COURT SHOULD RECONSIDER AND REVERSE ITS RULING
               GRANTING PLAINTIFF LEAVE TO AMEND

       C. If Summary Judgment is Granted in FedEx’s Favor, Amendment to Allow
          Plaintiff’s Title VII Claim Would be Futile

       The MSJ Order also grants Plaintiff’s motion for leave to amend her complaint to add a

claim for discrimination under Title VII of the Civil Rights Act of 1964. ECF 056 at 001. Among

the bases of this ruling is that “the burden of proof for a § 1981 claim is indistinguishable from the

burden of proof for a Title VII. Therefore, the defendant is not prejudiced by the added basis for

the plaintiff’s claims.” ECF 056 at 4. By the same reasoning, however, if FedEx is correct and its

motion for summary judgment on Plaintiff’s section 1981 claim should have been granted because

Plaintiff failed to submit adequate evidence of pretext (see discussion, supra), then her Title VII

claim would fail is well and any amendment would be futile. See Rosenzweig v. Azurix Corp., 332




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F.3d 854, 864-865 (5th Cir. 2003). Accordingly, if the Court reverses its ruling regarding the

motion for summary judgment, it should also reverse its ruling on the motion to amend.

         D. The Court’s Ruling on FedEx’s Contractual Limitation Period Is Incorrect.

         The Court held as follows

                [t]he contractual six-month period of limitations within which
                ‘any’ suit might be filed against the defendant, cuts against public
                policy and sidesteps a federal administrative process designed to
                meet and defeat long-standing policies of bias and discrimination
                in the workplace.

ECF 056 at 4. The Court employed this as a basis to deny FedEx’s motion for summary judgment

on Plaintiff’s Section 1981 claim, which as of the date of the MSJ Order was the only claim at

issue in the Pleadings (see ECF 011). And, unlike Title VII claims, section 1981 claims have no

“federal administrative process.” There is no exhaustion requirement in a section 1981 claim, as

FedEx pointed out in its reply brief. ECF 043 at 5 (citing Morgan v. Fed. Express Corp., 114 F.

Supp. 3d 434, 443-444 (S.D. Tx. 2015)). Accordingly, this is clear error. Even if the Court rules

that the Title VII claim may proceed based on this legal reasoning, then at a minimum, FedEx

should be entitled to summary judgment on the Section 1981 claim.

         And, this not an error without consequences. Title VII claims are subject to a “cap” on

certain types of compensatory damages, and punitive damages, of $300,000. 42 U.S.C. §

1981a(b)(3)(D). Section 1981 contains no such provision. Accordingly, unless the Court reverses

this aspect of its MSJ Order (denying summary judgment as to the contractual limitation period on

the Section 1981 claim), FedEx may be subject to substantial damages that it would not otherwise

be exposed to. The Court should reverse its ruling due to this now increased risk of prejudice to

FedEx.




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       Additionally, as FedEx explained with detailed citations in its opposition to the motion to

amend (ECF 049 at 11-12), the Fifth Circuit has repeatedly ruled against plaintiffs who move to

amend their complaints in an effort to defeat summary judgment. The Court does not discuss or

address these Fifth Circuit opinions in its order.

       VIII. PLAINTIFF’S RETALIATION CLAIMS

       As is outlined in the MSJ Order and in the parties’ papers, in the case at bar, Plaintiff’s

retaliation claims (those based on Section 1981 and under Title VII respectively) rise and fall on

essentially the same legal and factual bases as the discrimination claims. See ECF 056 at 4.

Accordingly, FedEx requests that the Court apply its ruling on this motion to Plaintiff’s retaliation

claims in the same manner and based on the same reasoning.

       IX.     CONCLUSION

       Accordingly, the Court should reverse its MSJ order, deny Plaintiff’s motion to amend,

and grant summary judgment in FedEx’s favor.

                                           Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

       In accordance with Local Rule CV-7(h), (i), I certify that on September 7, 2022, I conferred

with counsel for Plaintiff by email communication regarding this motion. Counsel indicated that

Plaintiff is opposed to the relief requested in the Motion.



                                               s/ Christopher M. Ahearn
                                               Christopher M. Ahearn

                                 CERTIFICATE OF SERVICE
       I hereby certify that on September 7, 2022, a copy of this instrument was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

Electronic Filing System. Parties may access this filing through the Court’s CM/ECF System.



                                               s/ Christopher M. Ahearn
                                               Christopher M. Ahearn



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